t Case 8:18-mj-00595-DUTY Document 3 Filed 12/10/18 Page 1 of 2 Page |D #:227

0 93 (Rev. 12/09) Search and Seiznre Warrant (Page 2)

 

 

 

Return
Case No..' Date a d tin warrant execz/ted.' Copy ofwarranit and invento)y left with.'
a;1a-MJ~595 // /c{ glo{% 070@ fhwa <i.$ @M§O

 

Inventory made in the presence of : § ”""”" t `/
5{/')£6{(7.} /'E(’/</wa Vl@ ¢/\/H //éf 00 '@

 

Inventoijy of the property taken and naine of any person(s) seized.'

[Please provide a description that Would be sufficient to demonstrate that the items seized fall Within the items authorized to be
seized pursuant to the warrant (e.g., type of documents, as opposed to “miscellaneous documents”) as well as the approximate
volume of any documents seized (e.g., number of boxes). lf reference is made to an attached description of propeity, specify the
number of pages to the attachment and any case number appearing thereon.]

`?i@"/`SZ/ <SC€/ A/(//i:’/:C("\*CO §(Zo-féi/\ /i/\/\\i@v\lc;>t”>/

 

Certification (by officer present during the execution of the warrant)

 

[ declare under penalty of perjury that 1 am an ojj‘icer who executed this warrant and that this inventory is correct and
was returned along with the original warrant to the designated judge through a filing with the Clerk's O/j"ice.

Date.' [¢9\[ 2§¢;10{% M/
Execnting oj‘icer ’s signature

K@J§¢\ ®/Qo¢, ,i;?e<i§@~(& rigij

Printed name and title

 

 

 

 

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501 West Ocean Boulevard, Suite 7200
long Beach, Califomia 90802

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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